Case 2:15-cv-00998-JRG-RSP Document 83 Filed 04/21/16 Page 1 of 1 PageID #: 341

                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS

  DISPLAY TECHNOLOGIES, LLC



                                                        2:15-cv-998-JRG-JRP
 v.                                           Civil No. ______________________
  NVIDIA CORPORATION, ET AL.




                                 CLERK’S ENTRY OF DEFAULT


                  21
          On this ________        April
                           day of __________________,    16
                                                      20 _____, it appearing from the affidavit(s)

                          Krystal L. McCool
 in support of default of ____________________________, attorney for plaintiff, that each of the

 defendants named below has failed to plead or otherwise defend herein as provided by the Federal

 Rules of Civil Procedure;

          Now, therefore, the DEFAULT of each of the following named defendants is hereby entered:
           NVIDIA CORPORATION




                                                      DAVID J. MALAND, CLERK



                                                          Nakisha Love
                                                      By: _________________________
                                                          Deputy Clerk

 p:\DFLT.ord
